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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF PENNSYLVANIA

                                         :
IN RE: PHILIPS RECALLED CPAP,            :   Master Docket: No. 21-mc-1230-JFC
BI-LEVEL PAP, AND MECHANICAL             :
VENTILATOR PRODUCTS                      :   MDL No. 3014
LITIGATION                               :
                                         :
This Document Relates to:                :
                                         :
Amended Master Long Form Complaint       :
For Personal Injuries And Damages, And   :
Demand For Jury Trial (ECF No. 834)      :
                                         :


       PHILIPS RS NORTH AMERICA LLC’S OPPOSITION TO PLAINTIFFS’
          MOTION TO MODIFY AND/OR CLARIFY THE REPORT AND
       RECOMMENDATION ON THE MOTION TO DISMISS THE AMENDED
         MASTER LONG FORM COMPLAINT FOR PERSONAL INJURIES


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                                       INTRODUCTION

       Plaintiffs’ Motion to Modify and/or Clarify the Report and Recommendation on the Motion

to Dismiss the Amended Master Long Form Complaint for Personal Injuries (“Motion to Modify”)

(ECF No. 2312) is in fact a conditional and procedurally improper motion for leave to amend

which fails to provide, as required by Federal Rule of Civil Procedure 15, the proposed amended

pleading. Plaintiffs’ elliptical request for leave to amend is both premature and procedurally

improper and should be denied.1

                                          ARGUMENT

       Plaintiffs’ conditional request for leave to amend is procedurally deficient for two primary

and independent reasons, either of which is grounds for denying Plaintiffs’ request.

       First, Plaintiffs’ request for leave to amend is premature and devoid of specificity—

predictably so—because the Court has not yet ruled on Defendants’ motion to dismiss the PI

Master Complaint. Plaintiffs therefore cannot know whether they might seek or merit leave to

amend. Plaintiffs are, thus, incapable of articulating required elements of such a motion, including

why the Court might consider allowing them leave to amend or how they would amend their

complaint were leave granted.       Instead, Plaintiffs frame their request for leave to amend

conditionally: if the Court adopts the R&R in whole or in part, then Plaintiffs seek leave to amend.

Such relief is unavailable because it essentially asks for an advisory opinion—albeit without

elucidating the ground upon which such an opinion might be sought. See Koller v. Riley Riper

Hollin & Colagreco, 850 F. Supp. 2d 502, 515 n.10 (E.D. Pa. 2012) (denying leave to amend



1
  Plaintiffs filed the Motion to Modify, as well as Objections (ECF No. 2313) to Special Master
Vanaskie’s Report and Recommendation (“R&R”) (ECF No. 2271) on Philips RS North America
LLC’s (“Respironics”) motion to dismiss Plaintiffs’ personal injury complaint (“PI Master
Complaint”) (ECF No. 834). This Opposition is in response to Plaintiffs’ Motion to Modify, which
repeats the same perfunctory and conditional request to amend as their R&R objections.
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where plaintiff had already amended his complaint and offered only an offhand, conditional

request to amend in lieu of dismissal with no explanation of what the amendment would entail or

how it would address the complaint’s shortcomings); Franks v. Food Ingredients Int’l, Inc., No.

CIV.A. 09-3649, 2010 WL 3046416, at *7 (E.D. Pa. July 30, 2010) (“[I]t is not for the Court to

direct Plaintiffs not only as to where they have gone wrong but how to make it right.”). Such a

“bare request” without “any indication of the particular grounds on which amendment is sought”

“does not constitute a motion within the contemplation of Rule 15(a).” In re NAHC, Inc. Sec.

Litig., 306 F.3d 1314, 1332 (3d Cir. 2002) (internal citations and quotations omitted). As this

Court previously has held, “[w]hile Federal Rule 15(a) provides that leave to amend shall be freely

given when justice so requires, a mere request in [a brief in] opposition to a motion to dismiss—

without any indication of the particular grounds on which amendment is sought—does not

constitute a motion within the contemplation of Rule 15(a).” Nyamekye v. Mitsubishi Elec. Power

Prod., Inc., No. CV 17-852, 2018 WL 3933504, at *6 n.3 (W.D. Pa. Aug. 16, 2018) (Conti, J.).

       Second, Plaintiffs have not submitted a proposed amended complaint as required by Rule

15. The absence of a proposed complaint affirms that Plaintiffs’ request for leave to amend is both

premature and improper. The Third Circuit has recognized that “to request leave to amend a

complaint, the plaintiff must submit a draft amended complaint to the court so that it can determine

whether amendment would be futile.” Fletcher-Harlee Corp. v. Pote Concrete Contractors, Inc.,

482 F.3d 247, 252 (3d Cir. 2007). The “failure to submit a draft amended complaint is fatal to a

request for leave to amend.” Id. (citing Ranke v. Sanofi–Synthelabo, Inc., 436 F.3d 197, 206 (3d

Cir. 2006)). “[A] district court need not worry about amendment when the plaintiff does not

properly request it,” and “properly requesting leave to amend a complaint requires submitting a

draft amended complaint.” Id. at 253; see also Gorton v. Air & Liquid Sys. Corp., No. CV 1:17-




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1110, 2019 WL 6310499, at *2 (M.D. Pa. Nov. 25, 2019) (Conti, J.) (“[Plaintiff] did not attach to

her motion for leave to file a second amended complaint a copy of the proposed second amended

complaint. The motion for leave will, therefore, be denied without prejudice.”).2 Plaintiffs’ failure

to provide a proposed amended complaint in support of their request for leave to amend is in and

of itself grounds for denying their request.

                                         CONCLUSION

       Plaintiffs’ request for leave to amend should be denied for both of these independent

reasons.




2
  If the Court, at a later date, were to entertain a proper motion for leave to amend, Respironics
would then plan to address the propriety of such a request and its implications, including the
extensive delay that permitting amendment would entail, and the effect of any amendments on the
viability of each of the more than 600 previously-filed Short Form Complaints.


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Dated: November 30, 2023              Respectfully Submitted,

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                              CERTIFICATE OF SERVICE

       I hereby certify that on November 30, 2023, the foregoing document was electronically

filed with the Clerk of the Court and served upon counsel of record through the Court’s ECF

system.


                                                 /s/ John P. Lavelle, Jr.
                                                 John P. Lavelle, Jr.
